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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

                                               )
JOE OSER, individually and on behalf of all    )   C.A. No. 2:10-MD-2179
others similarly situated,                     )              c/w 2:10-CV-1829
                                               )
                                    Plaintiffs )   Judge Barbier
                                               )
                       v.                      )   Mag. Judge Shushan
                                               )
TRANSOCEAN LTD, ET AL                          )   CLASS ACTION COMPLAINT
                                               )
                                   Defendants )
                                               )


                                           ORDER

       The foregoing motion considered:

       IT IS ORDERED that Walter J. Leger, Jr. (Bar #8278), Franklin G. Shaw (Bar # 1594),

Walter J. Leger, III (Bar # 28656) and Christine E. Sevin (Bar #32683) of the firm Leger &

Shaw, 600 Carondelet Street, 9th Floor, New Orleans, Louisiana, 70130, be and is hereby

enrolled as lead counsel of record for plaintiffs, JOE OSER, individually and on behalf of all

others similarly situated. in these proceedings.

       New Orleans, Louisiana, this ________ day of _____________________, 2010.


                                                   ___________________________________
                                                   DISTRICT COURT JUDGE
